     Case 2:17-cv-06651-AB-FFM Document 30 Filed 02/23/22 Page 1 of 2 Page ID #:387




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                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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      GEORGE O. HERMOSILLO,                          Case No.: 2:17-cv-06651-AB-FFM
11
12                 Plaintiff,
            vs.                                      [PROPOSED] ORDER ON
13                                                   STIPULATION REGARDING
                                                     PLAINTIFF’S ATTORNEY’S
14    FORD MOTOR COMPANY, a                          FEES, COSTS AND EXPENSES
15    Delaware Corporation; and DOES 1
      through 10, inclusive,
16                                                   Honorable Judge Andre Birotte Jr.
17                 Defendants.
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23
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
24
            Plaintiff GEORGE O. HERMOSILLO (“Plaintiff”) and Defendant FORD
25
      MOTOR COMPANY (“Defendant”) (collectively, “the Parties”), by and through
26
      their respective counsel of record, have entered into a stipulation for entry of an Order
27
      by the Court regarding Plaintiff’s attorney’s fees, costs and expenses.
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                                [PROPOSED] ORDER ON STIPULATION
     Case 2:17-cv-06651-AB-FFM Document 30 Filed 02/23/22 Page 2 of 2 Page ID #:388




1           THE PARTIES HAVE STIPULATED TO THE ENTRY OF AN ORDER
2     AS FOLLOWS:
3           (1) That Defendant shall pay the sum of $7,876.29 to Plaintiff and Plaintiff
4               hereby agrees to accept said payment in full satisfaction of all claims for
5               attorney’s fees, costs and expenses in connection with this action.
6           (2) That Defendant shall pay the sum of $7,876.29 to Plaintiff within 60 days
7               of execution of this Stipulation by all counsel unless matters outside of
8               the control of Defendant cause delay.
9
10    The parties are ORDERED to file a Stipulation of Dismissal within 10 days of
11    the issuance of this Order.
12
13    PURSUANT TO STIPULATION, IT IS SO ORDERED.
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16    Dated: February 23, 2022
17
                                            JUDGE OF THE UNITED STATES
18                                          DISTRICT COURT
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                            [PROPOSED] ORDER ON STIPULATION
